Case 1:OO-cV-01096-.]DB-tmp Document 87 Filed 07/08/05 Page 1 of 3 Page|D 109

  

 

;£7“{'5/) ,'Qi/ §
UNITED sTA TES DISTRICT Co URT j ._ fin
05 /; ‘-"
WESTERN DISTRICT 0F TENNESSEE f -s ,¢;_, 0
l -).' o
EASTERN DIVISIoN _ » ,.,./. h ~ 0
:’CUQ`/;i’:"/~/
n :`“U\ ny ;::.;"‘\3! Ci"
WILLIE DAVIS, .]UDGMENT IN A CIVIL CASE'W
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:00-1096-B
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

P ROVED:

 

   

NIEL BREEN
El) STATES DISTRICT COURT

2005 "'FOMAS M. eouLD
Clerk of Court

C'M

(By) Deputy Clerk

.This document entered on the docket sheet in compiience
minn mae 58 easier 79 (a) FHcP en _O_'] ' _____H_ _ 4

 

w
2 t

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 1:00-CV-01096 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

ESSEE

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

W. Gaston Fairey

FAIREY PARISE & 1\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Case 1:OO-cV-01096-.]DB-tmp Document 87 Filed 07/08/05 Page 3 of 3 Page|D 111

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Terry E. Williams
WILLIAMS LAW OFFICE
250 E. Wisconsin Ave.
Milwaukee, WI 53202--423

J. Christopher Mills

FAIREY PARISE & 1\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901--112

Honorable J. Breen
US DISTRICT COURT

